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                                   STATEMENT OF FACTS

        Your affiant is a Task Force Officer with the Federal Bureau of Investigation (FBI) and I
am currently assigned to the Columbia, South Carolina Field Office. Currently, I am tasked with
investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, and prosecution of violations of Federal criminal laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                Evidence Linking DEREK GUNBY to Assault on the U.S. Capitol

       On or about January 13, 2021, the Columbia, South Carolina Field Office of the FBI
received information that DEREK GUNBY had posted photos and a video to Facebook indicating
that he had been involved in the riot at the Capitol building. Law enforcement reviewed the
publicly available Facebook page of “Derek Gunby.” Under his name was the phrase, “Hold the
Line.” Additionally, his Facebook page stated that he was employed as a “Sleeper/Agent,” was a
“Former Vice President/Member Board of Directors at the Fathers’ Rights Movement,” and was a
former satellite communications non-commissioned officer in the U.S. Army. The Facebook page
of “Derek Gunby” also indicated that he lived in Anderson, South Carolina. A screenshot of
“Derek Gunby’s” Facebook page is shown below.




        Law enforcement obtained the driver’s license information, including photo, for DEREK
GUNBY from the South Carolina Department of Motor Vehicles (“DMV”). According to the
DMV records, DEREK GUNBY resides at an address in Anderson, South Carolina. Based on the
fact that DEREK GUNBY resides in Anderson, South Carolina, and the similarities between
DEREK GUNBY’s DMV photo and the photos of the individual displayed in the “Derek Gunby”
Facebook page, law enforcement determined that the individual in the “Derek Gunby” Facebook
photos is a positive match with DEREK GUNBY’s DMV photo.

        On or about January 5, 2021, DEREK GUNBY posted to his Facebook page, a photo of
himself in a car with the caption, “Halfway to the Capital.” Additionally, later that evening,
DEREK GUNBY posted to Facebook a photo of what appears to be bags of bricks in Washington,
D.C., with the following caption: “Cops in leftist-controlled areas of the US seem to assist with
this type of thing for leftist terrorism. We’re ready. We know you, we know what you are and
what you bring to play with. We’re also smarter and are willing to die for our beliefs whereas you

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are not.” Shown below are the two above-described Facebook postings made by DEREK GUNBY
on or about January 5, 2021.




        On or about January 6, 2021, DEREK GUNBY posted additional photos to his Facebook
page indicating he was in Washington, D.C. and near the Capitol building that day. The posts,
shown below, include a photo of DEREK GUNBY and another individual who appear to be riding
the Metro posted at 6:49 a.m. with the caption, “Up at Zero Dark Thirty to stop this steal;” photos
of the rally for President Trump posted at approximately 10:54 a.m. and 11:29 a.m.; a photo of
DEREK GUNBY in front of the Washington Monument at 11:49 a.m., photos of the rioters outside
the Capitol building at 3:15 p.m. In all the photos of DEREK GUNBY, he appears to be wearing
a frayed camouflage baseball cap, a military issued camouflage coat, and dark-frame glasses.




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        DEREK GUNBY also posted to his Facebook account a video that appears to have been
livestreamed as he was riding the Metro following the riots at the Capitol. In the video, DEREK
GUNBY is wearing the same frayed camouflage baseball cap, military issued coat, and dark-frame
glasses that he is wearing in the other photos. Your affiant also observed that DEREK GUNBY
was wearing an American flag bandana around his neck. In the video, your affiant observed a

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“GUNBY” nametag over the right breast pocket of the military coat and a “U.S. ARMY” tag is
over the left breast pocket. In the video, DEREK GUNBY states, in part, the following:

             So, I went with James here . . . and we met up with some people
             from Texas, . . . . So yeah we went, we were in front of the White
             House earlier this morning, and then going into the afternoon,
             everyone headed down to the National Mall towards the Capitol.
             And we all pretty much surrounded the Capitol. We are at a point
             now in this county where they’re going to listen to us. They have to
             listen to us. Your congressional leaders are not afraid of you. They
             are more afraid of the Chinese Communist party. They’re more
             afraid of left wing media. And they are more afraid of ANTIFA and
             Black Lives Matter than they are of the American patriot, the
             American conservative, the American libertarian. The person who
             is on the right side of the Constitution.

                                              ....

             The American patriot in this country has been, we’ve been saints.
             Saints. Because the capability of America, and Americans,
             especially if we were the kind of people that the media always
             portrays us to be, we can take this country back pretty quickly. We
             didn’t bring weapons. Americans that came here for this event did
             not bring weapons. That’s saying a lot considering how late it is in
             this game. How much they have tried to take from us, and we are
             still not taking up arms against our government, against the
             Capitol. So, we surrounded the Capitol today. Eventually tear gas
             started flying. They started shooting tear gas. I got, I’m still, my
             lips are still burning from it.

                                              ....

             They detonated, it was like a flash bang with a, they did a lot of flash
             bangs and things, and people stayed peaceful. I don’t care what the
             media is telling you. The media told you that, that we terrorized
             anybody, that the American patriot, that the Trumps supporters, that
             the people that were here to protest the stealing of the votes, of the
             election in this country.
                                              ....

             Came a little closer to some nightsticks and rubber bullets than we
             wanted to. But, this was ultimately peaceful. I do believe that the
             Metro police here in Washington do understand the stark difference
             between Trump supporters, the patriots, what have you, than say
             ANTIFA, Black Lives Matter. The character is completely
             different. There couldn’t be more of a stark difference in


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              justification, and intent, and capability. If the American patriot
              wanted to storm this Capitol, take over this building, and take care
              of all of Congress in there, they could do it. They could do it.

                                              ....

              They just tried to steal this election right in front of everybody’s
              face. And any of you, any of you, who are gonna sit there and look
              anybody in the face, and say that that didn’t happen, that this
              election fraud didn’t happen, that we’re making it up, that it’s
              unsubstantiated, you need to wake up.

A screenshot from the video is shown below.




       In the course of its investigation, law enforcement obtained a photo of an individual who
appears to be DEREK GUNBY standing with other rioters outside an entrance to the Capitol
building. DEREK GUNBY appears to be wearing the same frayed camouflage hat and dark
rimmed glasses. A red backpack strap is also seen over his shoulder. The photo is shown below.
DEREK GUNBY is circled in red.




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       Law enforcement also reviewed and collected video provided by the U.S. Capitol Police,
which includes security camera footage inside and outside of the U.S. Capitol building. While
reviewing this video footage, your affiant observed an individual who appears to be DEREK
GUNBY walking up and down a hallway inside the Capitol building. DEREK GUNBY is wearing
the same frayed camouflage baseball cap, military issued coat, dark-frame glasses, American flag
bandana around his neck, and red backpack that is seen in the photos shown above. In the videos,
DEREK GUNBY is also seen talking on a cell phone and holding up his cell phone to take photos
or videos. Screenshots of the video are shown below.




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        On or about February 1, 2021, your affiant went to DEREK GUNBY’s address in
Anderson, South Carolina to conduct an interview of DEREK GUNBY. DEREK GUNBY
provided a voluntary statement to your affiant. He stated that he went to Washington, D.C. on
January 6, 2021 to listen to President Trump speak. He stated that after the President spoke,
DEREK GUNBY followed the crowd that was moving toward the Capitol to protest the “stealing
of the election.” Your affiant asked DEREK GUNBY if he went inside the Capitol, to which
DEREK GUNBY replied that he did. DEREK GUNBY stated to your affiant that there was no
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
               v.                              :
                                               :       VIOLATIONS:
                                               :
DEREK COOPER GUNBY,                            :       18 U.S.C. § 1752(a)(1),
                                               :       (Entering and Remaining in a Restricted
                                               :       Building or Grounds)
Defendant.                                     :       18 U.S.C. § 1752(a)(2),
                                               :       (Disorderly and Disruptive Conduct in a
                                               :       Restricted Building or Grounds)
                                               :       40 U.S.C. § 5104(e)(2)(D),
                                               :       (Violent Entry or Disorderly Conduct)
                                               :       40 U.S.C. § 5104(e)(2)(G),
                                               :       (Parading, Demonstrating, or Picketing
                                               :       in a Capitol Building)

                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States has

established that a compelling governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.




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       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.

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Date: June 2, 2021                                                    Date: 2021.06.29 11:19:31
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                                                       G. MICHAEL HARVEY
                                                       UNITED STATES MAGISTRATE JUDGE




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8:21-cr-00479-KFM Date Filed 08/10/21 Entry Number 8 Page 2 of 4
  Case 1:21-cr-00626-PLF Document 5 Filed 08/11/21 Page 15 of 22
8:21-cr-00479-KFM Date Filed 08/10/21 Entry Number 8 Page 3 of 4
  Case 1:21-cr-00626-PLF Document 5 Filed 08/11/21 Page 16 of 22
8:21-cr-00479-KFM Date Filed 08/10/21 Entry Number 8 Page 4 of 4
  Case 1:21-cr-00626-PLF Document 5 Filed 08/11/21 Page 17 of 22
8:21-cr-00479-KFM Date Filed 08/10/21 Entry Number 9 Page 1 of 2
  Case 1:21-cr-00626-PLF Document 5 Filed 08/11/21 Page 18 of 22
8:21-cr-00479-KFM Date Filed 08/10/21 Entry Number 9 Page 2 of 2
  Case 1:21-cr-00626-PLF Document 5 Filed 08/11/21 Page 19 of 22
CM/ECF - scd                                               https://ecf.scd.circ4.dcn/cgi-bin/DktRpt.pl?106873754570128-L_1_0-1
                         Case 1:21-cr-00626-PLF Document 5 Filed 08/11/21 Page 20 of 22

                                                                                                          CLOSED

                                         U.S. District Court
                         District of South Carolina (Anderson/Greenwood)
                 CRIMINAL DOCKET FOR CASE #: 8:21-cr-00479-KFM All Defendants


         Case title: USA v. GUNBY                                  Date Filed: 08/10/2021
                                                                   Date Terminated: 08/11/2021


         Assigned to: Magistrate Judge Kevin
         McDonald

         Defendant (1)
         Derek Cooper Gunby                         represented by Lora Collins Blanchard
         TERMINATED: 08/11/2021                                    Federal Public Defender's Office (Gvle)
                                                                   Two Liberty Square
                                                                   75 Beattie Place
                                                                   Suite 950
                                                                   Greenville, SC 29601
                                                                   864-235-8714
                                                                   Fax: 864-233-0188
                                                                   Email: lora_blanchard@fd.org
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Public Defender or
                                                                   Community Defender Appointment

         Pending Counts                                            Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                         Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                Disposition
         18:1752(a)(1) Knowingly Entering or
         Remaining in any Restricted Building or
         Grounds Without Lawful Authority;
         18:1752(a)(2) Disorderly and Disruptive


1 of 3                                                                                                    8/11/2021, 9:08 AM
CM/ECF - scd                                                       https://ecf.scd.circ4.dcn/cgi-bin/DktRpt.pl?106873754570128-L_1_0-1
                        Case 1:21-cr-00626-PLF Document 5 Filed 08/11/21 Page 21 of 22

         Conduct in a Restricted Building or
         Grounds; 40:5104(c)(2)(D) Violent Entry
         and Disorderly Conduct on Capitol
         Grounds; 40:5104(c)(2)(G) Parading,
         Demonstrating, or Picketing in a Capitol
         Building



         Plaintiff
         USA                                               represented by Maxwell Barnes Cauthen , III
                                                                          US Attorneys Office (Gville)
                                                                          55 Beattie Place
                                                                          Suite 700
                                                                          Greenville, SC 29601
                                                                          864-282-2113
                                                                          Fax: 864-233-3158
                                                                          Email: max.cauthen@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Assistant US Attorney


         Date Filed        #      Docket Text
         08/10/2021        12 TEXT ORDER APPOINTING FEDERAL PUBLIC DEFENDER Lora Collins
                              Blanchard for Derek Cooper Gunby. Entered by Magistrate Judge Kevin
                              McDonald on 8/10/21.(awil, ) (Entered: 08/11/2021)
         08/10/2021        11 CJA 23 Financial Affidavit (Restricted Access) by Derek Cooper Gunby
                              (mpridmore-USPO, ) (Entered: 08/10/2021)
         08/10/2021            9 Unsecured Bond Entered as to Derek Cooper Gunby in amount of $ $25,000. (awil, )
                                 (Entered: 08/10/2021)
         08/10/2021            8 ORDER Setting Conditions of Release as to Derek Cooper Gunby (1). Bond is
                                 set at $25,000 unsecured with standard conditions. Special conditions:
                                 Defendant must not go to the District of Columbia except for court purposes.
                                 Travel is restricted to South Carolina. Defendant must appear at 1:00 p.m.
                                 virtually, no sooner than 3 days, for initial appearance in the District of
                                 Columbia. This hearing will be scheduled by the FPD and AUSA and notify the
                                 Clerk's Office in the District of SC of the date and time of the hearing scheduled
                                 in DC. Signed by Magistrate Judge Kevin McDonald on 8/10/21.(awil, ) (Entered:
                                 08/10/2021)
         08/10/2021            7 Minute Entry for proceedings held before Magistrate Judge Kevin McDonald:
                                 Initial Appearance in Rule 5(c)(3) Proceedings as to Derek Cooper Gunby held
                                 on 8/10/2021. Defendant present in custody. Federal Public Defender Blanchard
                                 present and appointed. Identity is not an issue. Defendant waived reading of
                                 charges and penalties. Bond is set at $25,000 unsecured with standard
                                 conditions. Special conditions: Defendant must not go to the District of
                                 Columbia except for court purposes. Travel is restricted to South Carolina.
                                 Defendant must appear at 1:00 p.m. virtually, no sooner than 3 days, for initial


2 of 3                                                                                                            8/11/2021, 9:08 AM
CM/ECF - scd                                                 https://ecf.scd.circ4.dcn/cgi-bin/DktRpt.pl?106873754570128-L_1_0-1
                      Case 1:21-cr-00626-PLF Document 5 Filed 08/11/21 Page 22 of 22

                            appearance in the District of Columbia. This hearing will be scheduled by the
                            FPD and AUSA and notify the Clerk's Office in the District of SC of the date
                            and time of the hearing scheduled in DC. Preliminary hearing will be addressed
                            at the virtual appearance in the charging district. Court Reporter Teresa
                            Johnson. (awil, ) (Entered: 08/10/2021)
         08/10/2021      6 ORAL Order to Unseal Complaint on motion by the government as to Derek
                           Cooper Gunby. Entered by Magistrate Judge Kevin McDonald on 8/10/21.(awil,
                           ) (Entered: 08/10/2021)
         08/10/2021      4 Warrant Returned Executed on 8/10/21 in case as to Derek Cooper Gunby. (jtho, )
                           (Main Document 4 replaced on 8/10/2021 to remove person identifiers) (jtho, ).
                           (Entered: 08/10/2021)
         08/10/2021      2 Arrest (Rule 40) of Derek Cooper Gunby. (jtho, ) (Entered: 08/10/2021)
         08/10/2021      3 NOTICE OF HEARING as to Derek Cooper Gunby: Initial Appearance - Rule 5c3
                           set for 8/10/2021 10:00 AM in Greenville #4, Clement F Haynsworth Fed Bldg, 300
                           E Washington St., Greenville before Magistrate Judge Kevin McDonald. (jtho, )
                           (Entered: 08/10/2021)
         08/10/2021      1 Rule 5c3 Documents Received as to Derek Cooper Gunby. (Attachments: # 1
                           Statement of Facts, # 2 Order to Seal)(jtho, ) (Entered: 08/10/2021)




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